Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 1 of 6
Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 2 of 6
Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 3 of 6
Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 4 of 6
Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 5 of 6
Case 3:07-cr-03039-MWB-KEM   Document 186   Filed 06/12/09   Page 6 of 6
